Case 19-10775-BFK                 Doc 15          Filed 04/09/19 Entered 04/09/19 17:40:51   Desc Main
                                                  Document     Page 1 of 4


                                 IN THE UNITED STATES BANKRUPTCY COURT
                                   FOR THE EASTERN DISTRICT OF VIRGINIA
                                           Alexandria Division

                                                           )
In re:                                                     )
                                                           ) Case No. 19-10775-KHK
Carlos Alberto Turriate,                                   ) Chapter 7
                                                           )
                              Debtor.                      )


               APPLICATION TO EMPLOY REAL ESTATE AGENT AND BROKER

          Kevin R. McCarthy, Trustee (“Applicant” or “Trustee”), the duly appointed Chapter 7 trustee

for Carlos Alberto Turriate (“Debtor”), by and through the undersigned proposed counsel, pursuant

to 11 U.S.C. §327 and Bankruptcy Rule 2014, respectfully files his Application seeking approval to

employ Stephen Karbelk (“Karbelk”) (supported by Stephanie Young and Robert Walters) as the

real estate agent and team leader of RealMarkets ("Agent") and Agent’s affiliated broker, Century 21

New Millennium (“Century 21” or “Broker”), as the Trustee’s real estate agent and broker,

respectively, for the purpose of marketing and selling certain real property more particularly

described below, and in support thereof states as follows:

          1.        On March 12, 2019 (the “Petition Date”), the Debtor filed a voluntary petition for

relief under Chapter 7 of the United States Bankruptcy Code, U.S.C. §101 et seq. (the “Bankruptcy

Code”), thereby commencing the above-captioned case. Applicant is the duly appointed and

qualified trustee herein.



Robert M. Marino, Esq. (VSB #26076)
Redmon Peyton & Braswell, LLP
510 King Street, Suite 301
Alexandria, VA 22314
(703) 684-2000
703-684-5109 (fax)
rmmarino@rpb-law.com
Proposed Counsel for Kevin R. McCarthy, Trustee
Case 19-10775-BFK         Doc 15     Filed 04/09/19 Entered 04/09/19 17:40:51                Desc Main
                                     Document     Page 2 of 4


        2.      On the Petition Date, the Debtor was the sole owner of improved residential real

property located at 626 Springhouse Square SE, Leesburg, Loudoun County, Virginia 20175, Tax

Map No. 48-Z17-47, with a legal description of Section14 Lot 47 Tavistock Farms (the “Property”).

The Property is improved by a townhome.

        3.      In order to market and administer the Property for maximum benefit to the estate and

its creditors, it is necessary to employ the services of a licensed real estate agent and broker.

        4.      Based on the foregoing, the Trustee desires to employ Agent and Broker to procure

and submit to the Trustee offers to purchase the Property. If the Property is contracted to be sold,

Broker shall have earned a brokerage fee, subject to Court approval and conditioned and payable

upon the closing of the sale. The brokerage fee will be six percent (6.0 %) (“Brokerage Fee”) of the

purchase price if there is no other broker involved in the transaction. If a buyer’s agent is involved,

the Brokerage Fee would split evenly between the Broker and the buyer’s agent. The Broker is

expressly prohibited from acting as a designated or dual agent in this case. Payment of the Brokerage

Fee and any reimbursable costs shall only be made upon further order of the Bankruptcy Court.

        5.      Karbelk has considerable experience and expertise as a real estate agent and

auctioneer in the Northern Virginia market where the Property is located and will provide valuable

assistance in facilitating a sale of the Property. The Trustee therefore submits that the retention of

Agent and Broker, under the terms described herein, is appropriate under Section 327 of the

Bankruptcy Code.

        6.      In order to facilitate the sale of the Property under these circumstances, the Trustee

further requests that the Court authorize Agent and its employees to request and obtain verbal and

written payoff statements, payment histories, and related information and documents from any

secured creditor in this case, including (i) Seterus, Inc., and (ii) DiTech Financial, LLC (collectively,
                                                   2
Case 19-10775-BFK          Doc 15    Filed 04/09/19 Entered 04/09/19 17:40:51              Desc Main
                                     Document     Page 3 of 4


the “Secured Creditors”), and to provide such documents as may be reasonably requested by the

Secured Creditors in connection with any sale. Additionally, the Trustee request that Agent and its

employees be expressly authorized to communicate with the Secured Creditors for the purpose of

negotiating and finalizing the terms and conditions under which the Property might be sold free and

clear of their existing liens.

        7.      Agent is authorized, if necessary, to put all utility accounts, including the electric,

gas, water and sewer accounts, into the name of Stephen Karbelk or RealMarkets, as Agent for the

Trustee. The Agent shall not be responsible for paying past due amounts that were incurred prior to

the petition date of the bankruptcy filing. Subject to a further order and approval of the Court,

Karbelk shall be reimbursed for all utility expenses upon the sale of the Property.

        8.      The Agent whom the Trustee proposes to employ has been informed and understands

that no sale may be consummated until after notice and a hearing and with Court approval.

        9.      In addition, to the extent that the Trustee pursues an alternative disposition of the

Property, including a sale of the available equity to the Debtor, the Trustee seeks authority to employ

the Agent at the rate of $175/hour to advise the Trustee concerning the value of the Property. In the

event he deems it advisable, the Trustee will seek this Court’s approval for payment of

compensation to the Broker for the value of the Agent’s time in assisting the Trustee.

        10.     The Trustee believes that the employment of the Agent and Broker on the terms and

conditions provided for herein is in the best interest of the estate.

        11.     To the best of the Debtor’s knowledge, Agent and Broker have no connection with

the Debtor, its creditors or any other party-in-interest in this case, their respective attorneys or

accountants, the United States Trustee, or any person employed in the office of the United States

Trustee, except that Karbelk has a familial connection with members of a law firm that generally
                                                   3
Case 19-10775-BFK         Doc 15    Filed 04/09/19 Entered 04/09/19 17:40:51               Desc Main
                                    Document     Page 4 of 4


represent the homeowner’s association where the Property is located, all as described in the

Declaration of Stephen Karbelk, which is filed herewith on behalf of Agent and Broker. The Trustee

believes that Agent and Broker are disinterested persons as that term is defined in section 101(14) of

the Bankruptcy Code and satisfy all the requirements for employment as a real estate agent and real

estate broker under 11 U.S.C. §327(a).

       WHEREFORE, the Trustee respectfully requests the entry of an Order authorizing the

employment of the Agent and Broker as the real estate agent and real estate broker in this case under

the terms described hereinabove and for such further relief as the Court deems just and proper.

Dated: April 9, 2019                           Respectfully submitted,
                                               /s/Robert M. Marino
                                               Robert M. Marino, Esq. (VSB #26076)
                                               Redmon Peyton & Braswell, LLP
                                               510 King Street, Suite 301
                                               Alexandria, VA 22314
                                               (703) 684-2000
                                               703-684-5109 (fax)
                                               rmmarino@rpb-law.com
                                               Proposed Counsel for Kevin R. McCarthy, Trustee
                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on the 9th day of April, 2019, a true copy of the foregoing
Application was sent via email to the Office of the U.S. Trustee at ustpregion04.ax.ecf@usdoj.gov,
and via Notice of Electronic Filing to Counsel to Debtor and all registered users in this case pursuant
to this Court’s CM/ECF policy.

                                                       /s/ Robert M. Marino
                                                       Robert M. Marino




                                                  4
